Case 1:22-cv-02292-CKK-GMH Document 26-2 Filed 05/15/23 Page 1 of 3




                     Exhibit B
             Case 1:22-cv-02292-CKK-GMH Document 26-2 Filed 05/15/23 Page 2 of 3


Reeves, Lee (CIV)

Subject:             FW: [EXTERNAL] RE: Navarro: Presidential Records transfer to NARA
Attachments:         [EXTERNAL] RE: Navarro: PRA; [EXTERNAL] RE: Navarro: PRA; export_20230510-165031.xls



From: Reeves, Lee (CIV) <Lee.Reeves2@usdoj.gov>
Sent: Wednesday, May 10, 2023 3:33 PM
To: stanley@brandwoodwardlaw.com
Cc: Gary Stern <garym.stern@nara.gov>; Hannah Bergman <Hannah.Bergman@nara.gov>; Saslaw, Alexandra R. (CIV)
<Alexandra.R.Saslaw@usdoj.gov>; Mark Nobile <mark@brandwoodwardlaw.com>; Stan Brand
<stanleymbrand@gmail.com>
Subject: RE: [EXTERNAL] RE: Navarro: Presidential Records transfer to NARA

Stanley,

Circling back as promised on your email below. A bit of background may be helpful to understand our perspective on
your response and proposed course of action. By email dated July 8, 2022, Dr. Navarro’s prior counsel informed us that
his searches of Dr. Navarro’s ProtonMail account had uncovered over 30,000 emails from 800 domains. Subsequently,
by email dated July 22, 2022, Dr. Navarro’s counsel further informed us that he had uncovered 1,700 documents that
might be covered by the PRA using the initial search parameters provided by NARA—parameters that NARA made clear
were not intended to be inclusive or exhaustive. See attached emails (Att. 1 & 2).

Given this, we are surprised and concerned at your suggestion that your client has only located 800 records that are
responsive based on your search(es). Although you have not provided sufficient information for us to assess the nature
or content of the search(es) that you have performed, the information that you have provided suggests that they are not
adequate or reasonably calculated to capture all PRA material in your client’s possession.

A review of the emails you provided in your first production indicates that the search you conducted is underinclusive.
There are 40 emails in the production where the correspondence is entirely on .com accounts (See the attached
spreadsheet, Att. 3). A search for emails to/from only .gov and .mil accounts would not capture these messages or
others like them.

Your client is therefore not in compliance with the Court’s April 12 Minute Order stating that your client “shall complete
all searches for Presidential records on or before May 8, 2023.”

With respect to your suggestion that the Government provide “targeted searches that you all request based on what
you see in these emails,” the answer to this is that the burden is on Dr. Navarro, not the United States, to go through the
full universe of Dr. Navarro’s records in a systematic, methodical way to cull out responsive material, which must then
be evaluated to assess whether it in fact falls under the PRA. Only your client has access to the full universe of material
that he possesses and knowledge of what it may contain or be referencing. It is not the Government’s obligation to
design subsequent (and untimely, based on the Court’s deadline of May 8) searches intended to remedy inadequacies in
your client’s initial search(es), just as it is not the requester’s burden to design the Government’s searches in a FOIA
case.

As you may recall, I asked by email dated April 5, 2023 that you provide a tally of the number of records that you were
reviewing in an effort to avoid precisely this sort of situation in which you appear not to have searched some portion of
your client’s emails (including attachments). I again reiterate that request, and ask that you provide that information to
me ASAP. Please also confirm all of the email accounts Dr. Navarro uses or has used to send or receive material that
may fall within the ambit of the PRA. All accounts will need to be searched fully and accounted for with respect to the
District Court’s Judgment and various production orders.
                                                             1
              Case 1:22-cv-02292-CKK-GMH Document 26-2 Filed 05/15/23 Page 3 of 3


In summary, please let me know by COB tomorrow the answers to the following:

    1. Please identify any and all accounts that Dr. Navarro uses or has used that may contain PRA material. The initial
       production demonstrates Dr. Navarro used at least four separate email accounts, not just the single ProtonMail
       account noted in the Complaint.

    2. Please provide a tally of the number of emails contained in all accounts listed in response to #1 above.

    3. Please provide the search terms and methodology that your client used that yielded the approximately 800
       records noted below.

In addition to the answers to these questions, please also let me know by COB tomorrow how you plan to remedy the
concerns outlined above, as the Government will need that information to prepare its position statement for the status
report due Monday, May 15.

If a call would be beneficial, or if you need clarification about any of the above, please let me know.

Thanks,

Lee
______________________________________________________
Lee Reeves| Trial Attorney
U.S. Department of Justice, Civil Division, Federal Programs Branch
1100 L St. NW | Washington, DC 20005
Tel: (202) 616‐0773




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